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Plaim;iff w n orr TN, weems-wa
v CIVIL NO. 05~2071 Ml/P

LlNlTED STATES POSTAL SER\/ICE and
]OHN E. POTI`ER, Postmaster General,
Defendants
SCHEDULING ORDER

Pursuant to written notice, a scheduling conference was set for ]une 16, 2005. Pro se
Plaintiff, Ms. Gladvs Cox, and Garv A. Vanasel<, counsel for the defendant, agreed upon the
following dates and these dates are established as final dates for:
1. Meeting pursuant to Fed.R.Civ.P. 26 (f). The Plaintiff and the undersigned Assistant
U.S. Attornev have conferred to plan discoverv.
2. Pre»Discoverv Disclosures. The parties will exchange the information required hv
Fed.R.Civ.P. 26(a)(1) by ]ulv 30, 2005
3. Discovery Plan. The parties will need discovery on all the issues raised in the pleadings

The parties propose the following deadlines

Amending pleadings and August 15, 2005
joining Parties

Reports from experts: October 15, 2005, from plaintiff
Novernber 15, 2005, from defendantl

Completion of discoverv: ]anuary 15, 2006
Dispositive motions: Februarv 28, 2006
Trial Date set by Court: After April 15, 2006

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Th:`s document entered on the -;iocr<e sheet in compliance
With Hu|e 58 and/or 79(3) FFiCP on

   

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Pretrial Order Due: Two weeks before trial
Final List of Witnesses
and Exhibits Exchanged: Two weeks before trial

Estimated length of trial: 3 days.
4. Other ltems. Settlement cannot be evaluated prior to the completion of discovery
and may be enhanced by a settlement conference with the Magistrate ]udge.

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of default or the service of the response, answer, or objection which is the subject
of the motion. If default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

The Plaintiff has requested a jury trial on the issue of compensatory damages The pretrial
order date, pretrial conference date and trial will be set by the presiding j udge. lt is anticipated
the trial will last three day.

The parties are reminded that pursuant to Local Rule ll(a) (1) (A), all motions, except
motions pursuant to Fed.R.Civ.P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a partie believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.

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This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

IT IS SO ORDERED.

APPROVED:

By:

TERRELL L. HARRIS
United States Attorney

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Gary A. V

 

asek (BPR 4675)

Assistant nited States Attorney
167 North Main Street, Suite 800
Memphis, Tennessee 3 8103
(901) 544-4231

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elad;/s Cox,

PlFitiff appearing Pro Se

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TU M. PHAM
UNITED STATES MAGISTRATE ]UDGE

DATE; SUM tij;¢c$/

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02071 vvas distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

Gladys CoX
4148 Hillgate Street
l\/lemphis7 TN 38118

Honorable J on McCalla
US DISTRICT COURT

